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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:01CR101
                              )
          v.                  )
                              )
MARVIN MILLER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that the final dispositional hearing on

the report on offender under supervision (Filing No. 482) is

rescheduled for:

                 Friday, September 1, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

           DATED this 30th day of August, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
